
McKinney, J.
delivered the opinion of the court.
This is an action of ejectment. The demise in the declaration describes a tract of land made up of two surveys, the one containing twenty and the other fifty acres.
The title adduced on the trial in the circuit court and exhibited in the record, covers only a part of the twenty acre survey.
*341Upon this proof of title to only part of the premises described in the declaration, the jury found a general -verdict, and the court rendered judgment thereon, in the usual form, that the lessor recover his term yet to come of and in the premises described in the declaration, &amp;c.
In this there is no error. It is well established that, although the lessor of the plaintiff in an action of ejectment establishes his right to recover only part of the lands described in the declaration, yet the finding of a general verdict in his favor, and judgment thereon for the whole of the premises described in the demise, will constitute no ground of error. But it is at his peril, in such case, if the lessor of the plaintiff take possession of more than he has proved title to on the trial. Til-linghast’s Adams. 231.
Judgment affirmed.
